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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


STATE OF NEW JERSEY,

            Plaintiff,

               v.

UNITED STATES DEPARTMENT                 OF
TRANSPORTATION, et al.,                              Before: Leo M. Gordon, Judge

            Defendants,                              Court No. 2:23-cv-03885

               and

METROPOLITAN TRANSPORTATION
AUTHORITY, et al.,

            Defendant-Intervenors.


                                         ORDER

       Presently pending before the court is a proposed Order to Show Cause, ECF No.

230, for why the Defendant-Intervenors should not be permitted to file their opposition to

Plaintiff’s motion to supplement the Complaint, ECF No. 227, until after the court has

adjudicated challenges to the results of the court-ordered remand, ECF No. 218. Upon

consideration of Defendant-Intervenors’ motion, and all other papers and proceedings

had in this action; and upon due deliberation, it is hereby

       ORDERED that the Defendant-Intervenors’ motion is granted in part; it is further

       ORDERED that the time for submission of an opposition to Plaintiff’s motion to

supplement the Complaint is stayed pending disposition of Defendant-Intervenors’ Order

to Show Cause; it is further
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       ORDERED that any response shall be filed by 5:00 PM on Friday, February 21,

2025 to file a response to Defendant-Intervenors’ Order to Show Cause; it is further

       ORDERED that no reply shall be permitted as to any response to the Order to

Show Cause; and it is further

       ORDERED that oral argument, if any, will be set on a date and time agreed upon

by the parties and the court.




                                    /s/ Leo M. Gordon
                                    Leo M. Gordon, Judge
                                    U.S. Court of International Trade
                                    (sitting by designation in the District of New Jersey)



Dated: February 11, 2025
       Newark, New Jersey
